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                                                                                  Alan E. Schoenfeld

                                          In light of Defendants' representation that the Ethical Culture
                                          Fieldston School (the "School") will send a representative with full
June 27, 2024                             settlement authority to attend the settlement conferences
                                          scheduled in Case Nos. 23 Civ. 1402 (JPO) (SLC), 23 Civ. 1874 (JPO)
VIA ECF                                   (SLC), and 23 Civ. 4917 (JPO) (SLC) (the "Conferences"),
                                          Defendants' request that Jessica Bagby, Robert Cairo, Nigel
Hon. Sarah L. Cave                        Furlonge, Kenny Graves, Joe Algrant, and the Schools' insurers be
United States District Court              excused from participation in the Conferences is GRANTED.
  for the Southern District of New York
500 Pearl St., Courtroom 18A            SO ORDERED.        6/28/24
New York, New York 10007

       Re: Mason v. Ethical Culture Fieldston School, 23-cv-1402-JPO-SLC,
           Wright v. Ethical Culture Fieldston School, 23-cv-1874-JPO-SLC, and
           Melendez v. Ethical Culture Fieldston School, 23-cv-4917-JPO-SLC

Dear Magistrate Judge Cave:

        I write on behalf of all Defendants in Mason v. Ethical Culture Fieldston School and Wright
v. Ethical Culture Fieldston School, and on behalf of Defendants Ethical Culture Fieldston School,
Jessica Bagby, Kenny Graves, and Joe Algrant in Melendez v. Ethical Culture Fieldston School.
In response to the Court’s June 26, 2024 Order (Mason, ECF No. 53; Wright, ECF No. 51;
Melendez, ECF No. 25), Defendants seek to excuse individual defendants Jessica Bagby, Robert
Cairo, Nigel Furlonge, Kenny Graves, and Joe Algrant, as well as the school’s insurers, from
attending the settlement conferences scheduled for July and August. The school’s representative
will have full settlement authority. Plaintiffs consent to Defendants’ request.



Respectfully submitted,



/s/ Alan E. Schoenfeld
Alan E. Schoenfeld
